Case 23-10253-KBO   Doc 44-4   Filed 03/22/23   Page 1 of 13




              EXHIBIT “B”
               Case 23-10253-KBO            Doc 44-4       Filed 03/22/23       Page 2 of 13




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                               Chapter 7

    AKORN HOLDING COMPANY LLC,                           Case No. 23-10253 (KBO)

                                Debtor.


    In re:                                               Chapter 7

    AKORN INTERMEDIATE COMPANY                           Case No. 23-10254 (KBO)
    LLC,
                    Debtor.


    In re:                                               Chapter 7

    AKORN OPERATING COMPANY LLC,                         Case No. 23-10255 (KBO)

                                Debtor.




                             DECLARATION OF NEIL A. AUGUSTINE

         I, Neil A. Augustine, declare, pursuant to 28 U.S.C. § 1746, under penalty of perjury that:

         1.       I am Vice Chairman and Co-Head of North American Financing Advisory and

Restructuring at Greenhill & Co., LLC (“Greenhill”), a leading independent investment bank

which has its principal office at 300 Park Avenue New York, NY 10022. I am authorized to

execute this Declaration on behalf of Greenhill and in support of the application (the

“Application”)1 of the Trustee for entry of an order authorizing the Trustee to retain and employ




1
 All undefined terms in this Declaration shall carry the meanings set forth in the Application or the Engagement
Agreement, as applicable.


LEGAL\62060261\3 6010823/00574256
                 Case 23-10253-KBO          Doc 44-4     Filed 03/22/23     Page 3 of 13




Greenhill as his sole investment banker in these Bankruptcy Cases, effective as of March 10, 2023.

Unless otherwise stated in this Declaration, I have personal knowledge of the facts set forth herein.

         2.           The current managing directors, principals, vice presidents, and associates of

Greenhill have extensive experience working with financially troubled companies in complex

financial restructurings, both out-of-court and bankruptcy proceedings.                Greenhill and its

principals have been involved as advisor to various parties in interest and constituencies in many

reorganization cases and asset sales. Over the last 30 years, my transactions experience has ranged

from out-of-court restructurings to in-court insolvencies in the U.S., Europe, Canada, Brazil, Chile

and Mexico, including involvement in the bankruptcy proceedings of the following companies,

among others: American Commercial Lines Inc., Atlantic Express Transportation Group, Answers

Corporation, Avaya Inc., Blockbuster Inc., Cengage Learning, Inc., Cenveo, Inc., Cirque du Soleil

Canada        Inc.,    Destination   Maternity   Corporation,   EXCO      Resources,     Inc.,   Fairpoint

Communications, Inc., Fusion Connect, Inc., Genco Shipping & Trading Limited, Global

Geophysical Services, Inc., Global Eagle Entertainment Inc., GT Advanced Technologies, Inc.,

The Gymboree Corporation, Harry & David Holdings, Inc., Inner City Media Corporation,

Innovative Communication Corporation, LATAM Airlines Group S.A., LifeCare Holdings, LLC,

M&G USA Corporation, Milacron Holdings Inc., Momentive Performance Materials, Motor

Coach Industries International, Inc., MTE Holdings LLC, Nassau Broadcasting Partners, L.P.,

New World Pasta Company, Performance Sports Group Ltd., rue2l, inc., The Roman Catholic

Diocese of Rockville Centre, New York, Skillsoft Corporation, Trident Resources Corp., Trump

Entertainment Resorts, Inc., VeraSun Energy Corporation, Werner Co. and WestPoint Stevens Inc.

         3.           Additionally, my merger and acquisition experience includes troubled company

buyside and sellside assignments, as well as special committee representations and traditional



                                                     2
LEGAL\62060261\3 6010823/00574256
               Case 23-10253-KBO         Doc 44-4     Filed 03/22/23    Page 4 of 13




M&A transactions. I have significant experience and expertise in raising and structuring debtor in

possession financing, secured debt, exit financing, second lien loans, convertible notes, rights

offerings, and preferred and common stock.

         4.       Greenhill has already served as investment banker in connection with the Debtors’

prepetition efforts to consummate a sale of their businesses as a going concern. Greenhill has

worked closely with the Debtors, their management, and their other advisors and has become well

acquainted with, among other things, the Debtors’ business, assets and capital structure. The

professionals at Greenhill are also well acquainted with the market for the Debtors’ assets and have

been in regular contact with potential purchasers.

         5.       Prior to joining Greenhill, I was Executive Vice Chairman and Co-Head of North

American Debt Advisory and Restructuring at Rothschild Inc. for seventeen years. Previously, I

was the Group Portfolio Manager for the Distressed Debt Group of Morgens, Waterfall, Vintiadis

& Company Inc., and prior to that, I was the Director of Distressed Debt Research at Lehman

Brothers, Inc. and was the Director of Research at Whippoorwill Associates, Inc. I began my

career at Chemical Bank and prior to entering the principal business, I was one of the founding

members of The Blackstone Group’s Restructuring and Reorganization Financial Advisory

Department. I hold a B.A. degree and a M.B.A. from the University of Rochester.

         6.       Greenhill was retained by the Trustee pursuant to the Engagement Agreement

dated as of March 10, 2023, a copy of which is annexed to the Application as Exhibit B.

         7.       The Trustee and Greenhill negotiated the Fee and Expense Structure contained

within the Engagement Agreement to function as and be an interrelated, integrated unit, in

correspondence with Greenhill’s services, which Greenhill renders not in parts, but as a whole. It

would be contrary to the intention of Greenhill and the Trustee for any isolated component of the



                                                  3
LEGAL\62060261\3 6010823/00574256
               Case 23-10253-KBO         Doc 44-4     Filed 03/22/23      Page 5 of 13




entire Fee and Expense Structure to be treated as sufficient consideration for any isolated portion

of Greenhill’s services. Instead, the Trustee and Greenhill intend that Greenhill’s services be

compensated by the Fee and Expense Structure in its entirety.

         8.       I believe the Fee and Expense Structure set forth in the Engagement Agreement is

comparable to those generally charged by investment banking firms of similar stature to Greenhill

and for comparable engagements, both in and out of court.

         9.       In connection with its proposed retention by the Trustee in these Bankruptcy Cases,

Greenhill obtained a listing of the names of individuals and entities that may be parties-in-interest

in these Bankruptcy Cases (the “Potential Parties in Interest”), which parties are listed on Schedule

1, annexed hereto. Greenhill then compared the names of the Potential Parties in Interest with the

names of entities that have entered into engagement agreements with Greenhill in the last three

years. To the extent that this inquiry revealed that any of the Potential Parties in Interest (or their

apparent affiliates or entities that Greenhill believes to be affiliates, as the case may be) entered

into any such engagement agreements with Greenhill within the last three years, such parties are

listed on Schedule 2 annexed hereto. To the best of my knowledge and belief, Greenhill’s

representation of each entity listed on Schedule 2 (or their apparent affiliates or entities that

Greenhill believes to be affiliates, as the case may be) was or is only on matters that are unrelated

to the Debtors and these Bankruptcy Cases. Other than as listed on Schedule 2, I am unaware of

any investment banking engagements of Greenhill by the Potential Parties in Interest within the

last three years. Given the size of Greenhill and the breadth of Greenhill’s client base, however, it

is possible that Greenhill may now or in the future be retained by one or more of the Potential

Parties in Interest in unrelated matters without my knowledge. To the extent that Greenhill




                                                  4
LEGAL\62060261\3 6010823/00574256
               Case 23-10253-KBO          Doc 44-4      Filed 03/22/23     Page 6 of 13




discovers or enters into any new, material relationship with Potential Parties in Interest, it will

supplement this Declaration.

         10.      In addition to the parties listed on Schedule 2, Greenhill may also represent, or may

have represented, affiliates, equity holders or sponsors of Potential Parties in Interest and Greenhill

may have worked with, continue to work with, have or had mutual clients with, been represented

by and/or advised certain accounting and law firms that are Potential Parties in Interest (and, in

the case of law firms, may have entered into engagement agreements in which the law firm was

named as client although the work was performed for a mutual client of Greenhill and the

applicable law firm). Greenhill may also represent, or may have represented in the past,

committees or groups of lenders or creditors in connection with certain restructuring or refinancing

engagements, which committees or groups include, or included, entities that are Potential Parties

in Interest. Certain of the Potential Parties in Interest may also be vendors and/or have other non-

investment banking relationships with Greenhill.

         11.      Although Greenhill has researched the Potential Parties in Interest list, the Debtors

may have had customers, creditors, competitors, and other parties with whom they maintained

business relationships that are not included as Potential Parties in Interest and with whom Greenhill

may maintain business relationships. As Greenhill is the only entity being retained by the Trustee,

we have researched only the electronic client data bases of Greenhill, not of all its affiliates, to

determine if Greenhill has connections with any Potential Parties in Interest, and Greenhill makes

no representation as to the disinterestedness of its affiliates in respect to these Bankruptcy Cases.

         12.      Additionally, once the Debtors file bankruptcy schedules and statements of

financial affairs, I understand that the list of Potential Parties in Interest will be supplemented.




                                                    5
LEGAL\62060261\3 6010823/00574256
               Case 23-10253-KBO          Doc 44-4      Filed 03/22/23      Page 7 of 13




Upon receiving a supplemental list of Potential Parties in Interest, I will supplement this

Declaration as necessary.

         13.      Finally, as of the date hereof, Greenhill and its affiliates have approximately 400

employees worldwide. It is possible that certain of Greenhill’s and its affiliates’ respective

directors, officers, and employees may have had in the past, may currently have, or may in the

future have connections to (i) the Trustee, (ii) the Debtors, (iii) Potential Parties in Interest in these

Bankruptcy Cases, or (iv) funds or other investment vehicles that may own debt or securities of

the Debtors or other Potential Parties in Interest.

         14.      During the 90-day period prior to the Petition Date, Greenhill was paid in the

ordinary course certain fees and expense reimbursements. Specifically, Greenhill was paid (i)

$150,812 on February 2, 2023; $211 on January 25, 2023; (iii) $153,024 on January 18, 2023 and

(iv) $200,159 on December 14, 2022.

         15.      Any fees or expenses incurred prior to the Petition Date and owed by the Debtors

to Greenhill as of the Petition Date are hereby forgiven.

         16.      Based upon the foregoing, I believe Greenhill is disinterested as defined in section

101(14) of the Bankruptcy Code and does not hold or represent an interest materially adverse to

the Trustee, the Debtors or their Estates.

         17.      Greenhill has not shared or agreed to share any compensation to be paid by the

Estates with any other person, other than principals and employees of Greenhill, in accordance

with section 504 of the Bankruptcy Code.

         18.      In connection with these Bankruptcy Cases, Greenhill will file applications with

this Court, which will include time records setting forth, in a summary format, a description of the

Services rendered by each Greenhill professional and the amount of time spent on each date by



                                                    6
LEGAL\62060261\3 6010823/00574256
               Case 23-10253-KBO           Doc 44-4     Filed 03/22/23     Page 8 of 13




each such individual in rendering services on behalf of the Estates. Greenhill does not ordinarily

maintain contemporaneous time records in one-tenth-hour (.1) increments or provide or conform

to a schedule of hourly rates for its professionals. Greenhill proposes to file time records in half-

hour (.5) increments. Greenhill also will maintain detailed records of any actual and necessary

costs and expenses incurred in connection with the Services discussed above.

                  19.      I declare under penalty of perjury that the foregoing is true and correct to

the best of my knowledge, information and belief.

Dated: March 21
             __, 2023
       New York, New York


                                                         GREENHILL & CO., LLC



                                                         Name: Neil A. Augustine
                                                         Title: Vice Chairman




                                                    7
LEGAL\62060261\3 6010823/00574256
                Case 23-10253-KBO         Doc 44-4    Filed 03/22/23     Page 9 of 13



                                           SCHEDULE 1

                                    CONFLICT SEARCH PARTIES1


    Client:
    George L. Miller, Chapter 7 Trustee

    Debtors:

    Akorn Holding Company LLC
    Akorn Intermediate Company LLC
    Akorn Operating Company LLC

    Subsidiaries:

    Akorn Canada, Inc.
    Akorn International S.á.r.l.
    Akorn AG

    Former Directors & Officers

    John Sweeney
    Beth Zelnick Kaufman

    Administrative Agents for the ABL Lenders and TL Lenders
    Midcap Financial Trust (the “ABL Administrative Agent”)
    Wilmington Savings Fund Society, FSB (the “TL Administrative Agent”)




1
 Known parties as of filing of the Debtors’ Chapter 7 Petitions. Greenhill will perform a supplemental
conflict check when the Debtors’ Schedules and Documents are completed and filed and will file a
supplemental Declaration to the extent necessary.

LEGAL\62205607\3 6010823/00574256
              Case 23-10253-KBO         Doc 44-4    Filed 03/22/23   Page 10 of 13




                          Office of the United States Trustee
                      Region 3 - Wilmington DE - Staff Directory
                                As of November 9, 2022
 Andrew R. Vara                              United States Trustee
 Joseph McMahon                              Assistant U.S. Trustee
 Lauren Attix                                OA Assistant
 Linda Casey                                 Trial Attorney
 Denis Cooke                                 Auditor
 Joseph Cudia                                Trial Attorney
 Holly Dice                                  Auditor
 Shakima L. Dortch                           Paralegal Specialist
 Timothy J. Fox, Jr.                         Trial Attorney
 Diane Giordano                              Bankruptcy Analyst
 Christine Green                             Paralegal Specialist
 Benjamin Hackman                            Trial Attorney
 Ramona Harris                               Paralegal Specialist
 Nyanquoi Jones                              Auditor
 Jane Leamy                                  Trial Attorney
 Hannah M. McCollum                          Trial Attorney
 James R. O'Malley                           Bankruptcy Analyst
 Michael Panacio                             Bankruptcy Analyst
 Linda Richenderfer                          Trial Attorney
 Juliet Sarkessian                           Trial Attorney
 Richard Schepacarter                        Trial Attorney
 Edith A. Serrano                            Paralegal Specialist
 Rosa Sierra- Fox                            Trial Attorney
 Dion Wynn                                   Paralegal Specialist

                                      Bankruptcy Judges
                               United States Bankruptcy Court
                                      District of Delaware
 Laurie Selber Silverstein, Chief Judge
 John T. Dorsey, Judge
 Craig T. Goldbatt, Judge
 Karen B. Owens, Judge
 Brendan L. Shannon, Judge
 J. Kate Stickles, Judge
 Mary F. Walrath, Judge
 Ashely M. Chan, Judge

                             Clerk of the United States Bankruptcy Court
                                          District of Delaware
                                          (Effective 9/1/2016)

 Una O’Boyle




LEGAL\62205607\3 6010823/00574256
              Case 23-10253-KBO        Doc 44-4   Filed 03/22/23        Page 11 of 13




                                         SCHEDULE 2


                               SCHEDULE OF INTERESTED PARTIES


 Interested Parties                     Interested Party Title/Role       Relationship to
                                                                          Greenhill
 George L. Miller                       Chapter 7 Trustee                 Client
 Akorn Holding Company LLC              Debtor                            Former Client
 Akorn Intermediate Company LLC         Debtor                            Former Client
 Akorn Operating Company LLC            Debtor                            Former Client
 Akorn AG                                                                 Subsidiary of Former
                                        Debtor Subsidiary                 Client
 Akorn International S.à.r.l.                                             Subsidiary of Former
                                        Debtor Subsidiary                 Client
 Akorn Canada, Inc.                                                       Subsidiary of Former
                                        Debtor Subsidiary                 Client
 John Sweeney                           Director, Debtor                  None
 Beth Zelnick Kaufman                   Director, Debtor                  None
 MidCap Financial Trust                 Lender                            None
 Wilmington Savings Fund Society,
 FSB                                    Lender                            None
 Andrew R. Vara                         United States Trustee, Office
                                        of the United States Treasury     None
 Joseph McMahon                         Assistant U.S. Trustee,
                                        Office of the United States
                                        Treasury                          None
 Lauren Attix                           OA Assistant, Office of the
                                        United States Treasury            None
 Linda Casey                            Trial Attorney, Office of the
                                        United States Treasury            None
 Denis Cooke                            Auditor, Office of the United
                                        States Treasury                   None
 Joseph Cudia                           Trial Attorney, Office of the
                                        United States Treasury            None
 Holly Dice                             Auditor, Office of the United
                                        States Treasury                   None
 Shakima L. Dortch                      Paralegal Specialist, Office
                                        of the United States Treasury     None



LEGAL\62205607\3 6010823/00574256
              Case 23-10253-KBO     Doc 44-4    Filed 03/22/23       Page 12 of 13




 Interested Parties                  Interested Party Title/Role       Relationship to
                                                                       Greenhill
 Timothy J. Fox, Jr.                 Trial Attorney, Office of the
                                     United States Treasury            None
 Diane Giordano                      Bankruptcy Analyst, Office
                                     of the United States Treasury     None
 Christine Green                     Paralegal Specialist, Office
                                     of the United States Treasury     None
 Benjamin Hackman                    Trial Attorney, Office of the
                                     United States Treasury            None
 Ramona Harris                       Paralegal Specialist, Office
                                     of the United States Treasury     None
 Nyanquoi Jones                      Auditor, Office of the United
                                     States Treasury                   None
 Jane Leamy                          Trial Attorney, Office of the
                                     United States Treasury            None
 Hannah M. McCollum                  Trial Attorney, Office of the
                                     United States Treasury            None
 James R. O'Malley                   Bankruptcy Analyst, Office
                                     of the United States Treasury     None
 Michael Panacio                     Bankruptcy Analyst, Office
                                     of the United States Treasury     None
 Linda Richenderfer                  Trial Attorney, Office of the
                                     United States Treasury            None
 Juliet Sarkessian                   Trial Attorney, Office of the
                                     United States Treasury            None
 Richard Schepacarter                Trial Attorney, Office of the
                                     United States Treasury            None
 Edith A. Serrano                    Paralegal Specialist, Office
                                     of the United States Treasury     None
 Rosa Sierra- Fox                    Trial Attorney, Office of the
                                     United States Treasury            None
 Dion Wynn                           Paralegal Specialist, Office
                                     of the United States Treasury     None
 Laurie Selber Silverstein           Chief Judge, United States
                                     Bankruptcy Court - District
                                     of Delaware                       None
 John T. Dorsey                      Judge, United States
                                     Bankruptcy Court - District
                                     of Delaware                       None


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LEGAL\62205607\3 6010823/00574256
              Case 23-10253-KBO     Doc 44-4    Filed 03/22/23     Page 13 of 13




 Interested Parties                  Interested Party Title/Role     Relationship to
                                                                     Greenhill
 Craig T. Goldbatt                   Judge, United States
                                     Bankruptcy Court - District
                                     of Delaware                     None
 Karen B. Owens                      Judge, United States
                                     Bankruptcy Court - District
                                     of Delaware                     None
 Brendan L. Shannon                  Judge, United States
                                     Bankruptcy Court - District
                                     of Delaware                     None
 J. Kate Stickles                    Judge, United States
                                     Bankruptcy Court - District
                                     of Delaware                     None
 Mary F. Walrath                     Judge, United States
                                     Bankruptcy Court - District
                                     of Delaware                     None
 Ashely M. Chan                      Judge, United States
                                     Bankruptcy Court - District
                                     of Delaware                     None
 Una O’Boyle                         Clerk, United States
                                     Bankruptcy Court – District
                                     of Delaware                     None




                                            3
LEGAL\62205607\3 6010823/00574256
